            Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 1 of 30



1                                                             Honorable John C. Coughenour
2

3

4

5

6

7

8

9                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
10                                          AT SEATTLE
11
      STEVEN FLOYD, individually and on behalf
12                                                 Case No. 2:22-cv-01599 JCC
      of all other similarly situated,
13                                                 APPLE INC.’S MOTION TO DISMISS
                        Plaintiff,
14          v.
15                                                 Noted for Hearing: May 19, 2023
      AMAZON.COM INC. and APPLE INC.,
16                                                 ORAL ARGUMENT REQUESTED
                        Defendants.
17

18

19

20

21

22

23

24

25

26

27

28
                                                             Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                            401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                    Seattle, Washington 98101
                                                                      tel+1-206-839-4300
              Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 2 of 30



1                                                       TABLE OF CONTENTS
                                                                                                                                             Page
2
     INTRODUCTION ............................................................................................................................ 1
3
     STATEMENT OF PLEADED FACTS ........................................................................................... 3
4
                          A.         Apple and Amazon’s Business Relationship ............................................... 3
5                         B.         The Global Tenets Agreement ..................................................................... 4
6                         C.         Plaintiff’s Amended Complaint ................................................................... 5
7    LEGAL STANDARD ...................................................................................................................... 6
     ARGUMENT ................................................................................................................................... 6
8
               I.         The Per Se Standard Is Inapplicable ........................................................................ 6
9
                          A.         Plaintiff’s Factual Allegations Make Clear That the Per Se Standard
10                                   Is Inapplicable .............................................................................................. 7
                          B.         Binding Law Requires Application of the Rule of Reason to a Dual
11
                                     Distribution Model ....................................................................................... 8
12             II.        Plaintiff’s Alternative Rule of Reason Claim Should Be Dismissed ....................... 9
13                        A.         The Alleged Relevant Market and Submarkets Are Not Plausible ............ 10
                                     1.         The Two-Sided Market Framework Does Not Apply to
14                                              Plaintiff’s Theory of Harm ............................................................. 11
15                                   2.         The Online Marketplaces Market Is Facially Overbroad ............... 12
                                     3.         Plaintiff’s Relevant Market and Submarkets Are Also
16                                              Fatally Narrow Because They Exclude Channels to
                                                Purchase the Identical Product ....................................................... 13
17
                          B.         Plaintiff Does Not Plausibly Allege Market Power ................................... 17
18
                          C.         Plaintiff Does Not Adequately Allege Injury to Competition.................... 18
19   CONCLUSION .............................................................................................................................. 22
20

21

22

23

24

25

26

27

28
                                                                                                  Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                                     i                            401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                                          Seattle, Washington 98101
                                                                                                            tel+1-206-839-4300
              Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 3 of 30



1                                                   TABLE OF AUTHORITIES
2                                                                                                                                    Page(s)
3    Cases
4
     A.H. Cox & Co. v. Star Mach. Co.,
5       653 F.2d 1302 (9th Cir. 1981) ........................................................................................ 2, 19, 20

6    Apple Inc. v. Mobile Star LLC,
        No. 3:16-cv-06001-WHO, 2017 WL 4005468 (N.D. Cal. Sept. 12, 2017) ............................... 4
7
     Apple Inc. v. Mobile Star LLC,
8       No. 3:16-cv-06001-WHO, 2016 WL 6110683 (N.D. Cal. Oct. 17, 2016)................................. 4
9
     Ashcroft v. Iqbal,
10      556 U.S. 662 (2009) ................................................................................................. 6, 18, 19, 20

11   Bell Atl. Corp. v. Twombly,
         550 U.S. 544 (2007) ............................................................................................................... 6, 7
12
     Brantley v. NBC Universal, Inc.,
13      675 F.3d 1192 (9th Cir. 2012) .................................................................................. 6, 10, 19, 20
14   Brown Shoe Co. v. United States,
15
        370 U.S. 294 (1962) ................................................................................................................. 14

16   Bus. Elecs. Corp. v. Sharp Elecs. Corp.,
        485 U.S. 717 (1988) ................................................................................................................... 8
17
     Calculators Haw., Inc. v. Brandt, Inc.,
18      724 F.2d 1332 (9th Cir. 1983) .................................................................................................... 8
19   Chi. Pro. Sports Ltd. P’ship v. NBA,
        95 F.3d 593 (7th Cir. 1996) ...................................................................................................... 21
20

21   Conklin v. Univ. of Wash. Med.,
        798 F. App’x 180 (9th Cir. 2020)............................................................................................. 20
22
     Cont’l T. V., Inc. v. GTE Sylvania Inc.,
23      433 U.S. 36 (1977) ................................................................................................................... 19
24   Coronavirus Rep. v. Apple Inc.,
        No. 21-cv-05567-EMC, 2021 WL 5936910 (N.D. Cal. Nov. 30, 2021) ................................. 12
25
     Dimidowich v. Bell & Howell,
26
        803 F.2d 1473 (9th Cir. 1986), as modified, 810 F.2d 1517 (9th Cir. 1987) ......................... 7, 9
27
     Eliott v. Lions Gate Ent. Corp.,
28       No. 2:21-cv-08206-SSS-DFMx, 2022 WL 17408662 (C.D. Cal. Nov. 8, 2022)....................... 4
                                                                                                Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                                    ii                          401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                                        Seattle, Washington 98101
                                                                                                          tel+1-206-839-4300
              Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 4 of 30



1    Eminence Cap., LLC v. Aspeon, Inc.,
        316 F.3d 1048 (9th Cir. 2003) .................................................................................................. 22
2
     Flaa v. Hollywood Foreign Press Ass’n,
3
        55 F.4th 680 (9th Cir. 2022) ......................................................................................... 10, 17, 18
4
     FTC v. Qualcomm Inc.,
5       969 F.3d 974 (9th Cir. 2020) .............................................................................................. 11, 20

6    Golden Gate Pharmacy Services, Inc. v. Pfizer, Inc.,
        433 F. App’x 598 (9th Cir. 2011)............................................................................................. 13
7
     Heisen v. Pac. Coast Bldg. Prods., Inc.,
8
        26 F.3d 130 (9th Cir. 1994) ...................................................................................................... 20
9
     Hicks v. PGA Tour, Inc.,
10      897 F.3d 1109 (9th Cir. 2018) ........................................................................................... passim

11   hiQ Labs, Inc. v. LinkedIn Corp.,
        485 F. Supp. 1137 (N.D. Cal. 2020) ........................................................................................ 16
12
     Intel Corp. v. Fortress Inv. Grp. LLC,
13       No 21-16817, 2022 WL 16756365 (9th Cir. Nov. 8, 2022) ............................................... 12, 21
14
     Joplin Enters. v. Allen,
15      795 F. Supp. 349 (W.D. Wash. 1992) ...................................................................................... 13

16   Kingray, Inc. v. NBA, Inc.,
        188 F. Supp. 2d 1177 (S.D. Cal. 2002) ...................................................................................... 8
17
     Krehl v. Baskin-Robbins Ice Cream Co.,
18      664 F.2d 1348 (9th Cir. 1982) ................................................................................................ 8, 9
19   Laurence J. Gordon, Inc. v. Brandt, Inc.,
20      554 F. Supp. 1144 (W.D. Wash. 1983) ...................................................................................... 9

21   Leegin Creative Leather Prods., Inc. v. PSKS, Inc.,
        551 U.S. 877 (2007) ............................................................................................................... 6, 7
22
     Les Shockley Racing, Inc. v. Nat’l Hot Rod Ass’n,
23      884 F.2d 504 (9th Cir. 1989) .................................................................................................... 10
24   Newcal Indus., Inc. v. Ikon Off. Sol.,
        513 F.3d 1038 (9th Cir. 2008) .................................................................................................. 10
25

26   Nova Designs, Inc. v. Scuba Retailers Ass’n,
        202 F.3d 1088 (9th Cir. 2000) ................................................................................................ 6, 8
27
     Nw. Wholesale Stationers, Inc. v. Pac. Stationary & Printing Co.,
28      472 U.S. 284 (1985) ................................................................................................................... 7
                                                                                           Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                           iii                              401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                                        Seattle, Washington 98101
                                                                                                          tel+1-206-839-4300
              Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 5 of 30



1    NYNEX Corp. v. Discon, Inc.,
       525 U.S. 128 (1998) ................................................................................................................... 7
2
     Ohio v. Am. Express Co.,
3
        138 S. Ct. 2274 (2018) ................................................................................................... 7, 11, 12
4
     PBTM LLC v. Football Nw., LLC,
5      511 F. Supp. 3d 1158 (W.D. Wash. 2021) ..................................................................... 6, 10, 11

6    Pennsylvania Ave. Funds v. Borey,
        569 F. Supp. 2d 1126 (W.D. Wash. 2008) ............................................................................... 17
7
     Pimentel-Estrada v. Barr,
8
        458 F. Supp. 3d 1226 (W.D. Wash. 2020) ................................................................................. 4
9
     Pistacchio v. Apple Inc.,
10       No. 4:20-cv-07034-YGR, 2021 WL 949422 (N.D. Cal. Mar. 11, 2021) ........................... 14, 15

11   Reilly v. Apple Inc.,
         578 F. Supp. 3d 1098 (N.D. Cal. 2022) ............................................................................. 12, 20
12
     Rutman Wine Co. v. E. & J. Gallo Winery,
13      829 F.2d 729 (9th Cir. 1987) .............................................................................................. 19, 20
14
     Sambreel Holdings v. Facebook, Inc.,
15      906 F. Supp. 2d 1070 (S.D. Cal. 2012) ...................................................................................... 8

16   Somers v. Apple, Inc.,
        729 F.3d 953 (9th Cir. 2013) .................................................................................................... 21
17
     State Oil Co. v. Khan,
18       522 U.S. 3 (1997) ....................................................................................................................... 6
19   Streamcast Networks, Inc. v. Skype Technologies, S.A.,
20       547 F. Supp. 2d 1086 (C.D. Cal. 2007) ........................................................................ 14, 15, 16

21   Stubhub, Inc. v. Golden State Warriors, LLC,
        No. C 15-1436 MMC, 2015 WL 6755594 (N.D. Cal. Nov. 5, 2015) ................................ 14, 16
22
     Tanaka v. Univ. of S. Cal.,
23      252 F.3d 1059 (9th Cir. 2001) .................................................................................................. 10
24   Texas v. Google LLC (In re Google Digit. Advert. Antitrust Litig.),
        No. 21-md-3010 (PKC), 2022 WL 4226932 (S.D.N.Y. Sept. 13, 2022) ................................... 9
25

26   Thurman Indus., Inc. v. Pay ‘N Pak Stores, Inc.,
        875 F.2d 1369 (9th Cir. 1989) ............................................................................................ 13, 15
27
     United States v. Am. Express Co.,
28      838 F.3d 179 (2d Cir. 2016) ....................................................................................................... 7
                                                                                       Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                        iv                              401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                                          Seattle, Washington 98101
                                                                                                            tel+1-206-839-4300
               Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 6 of 30



1    United States v. Colgate & Co.,
        250 U.S. 300 (1919) ................................................................................................................... 2
2
     Universal Grading Serv. v. eBay, Inc.,
3
        No. C-09-2755-RMW, 2012 WL 70644 (N.D. Cal. Jan. 9, 2012) ........................................... 12
4
     Zunum Aero, Inc. v. Boeing Co.,
5       No. C21-0896-JLR, 2022 WL 3346398 (W.D. Wash. Aug. 12, 2022) ............................... 8, 10

6    Other Authorities
7    Phillip E. Areeda & Herbert Hovencamp, Antitrust Law: An Analysis of Antitrust
         Principles and Their Application ¶¶ 1605a, 1605c (4th and 5th eds., 2015-
8
         2021)........................................................................................................................................... 9
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                                      Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                                         v                             401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                                               Seattle, Washington 98101
                                                                                                                 tel+1-206-839-4300
            Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 7 of 30



1                                              INTRODUCTION
2            Customers can purchase an iPhone or an iPad from a wide variety of sellers in a wide variety
3    of channels. Whether purchased in person or online at retailers like Best Buy or Target, through a
4    carrier like Verizon or AT&T, or on Amazon.com, Apple strives to ensure that every customer has
5    a quality purchasing experience and receives the genuine, safe Apple product for which they paid.
6    Among other protections, Apple has safeguards in place to help identify and remove counterfeit
7    products to prevent its customers from being duped into purchasing counterfeit Apple products.
8            As part of Apple’s ongoing efforts to maintain a premium customer experience, in the mid-
9    2010s, Apple identified a significant problem with customers receiving counterfeit products
10   purchased on Amazon.com. The problem was so significant that, in 2016, Apple sued nine entities
11   involved in supplying counterfeit Apple products to Amazon and advertised as “sold by
12   Amazon.com.”1 Pursuing counterfeiters after the fact was only a partial solution: protecting
13   customers from the harms and risks associated with counterfeits also required proactive efforts to
14   stop the sale of counterfeits in the first place. Plaintiff’s lawsuit is about one of the additional steps
15   that Apple took to protect its brand integrity, reduce the sale of counterfeits, and improve the
16   customer experience when purchasing Apple products.
17           In 2018, Apple, as manufacturer, and Amazon, as reseller, negotiated an agreement known
18   as the Global Tenets Agreement (“GTA”).2 The GTA implemented measures to improve the
19   customer experience and to reduce the availability of counterfeit Apple products on Amazon.com.
20   One of those measures was permitting only Apple Authorized Resellers that Apple identified to
21   sell Apple products on Amazon.com. This measure helps safeguard the customer experience and
22   protect customers against the risk of purchasing unsafe knock-off or counterfeit products on
23   Amazon.com.
24           Plaintiff’s Amended Complaint (Dkt. 37, “Am. Compl.”) ignores the commercial purpose
25   of the GTA and instead alleges that the GTA violates antitrust law. This second attempt to plead a
26   1
       Second Amended Complaint ¶ 36, Apple Inc. v. Mobile Star, LLC, No. 3:16-cv-06001-WHO,
     2017 WL 4297209 (N.D. Cal. Aug. 30, 2016).
27
     2
       A copy of the GTA, which Plaintiff refers to and incorporates by reference into his Amended
28   Complaint, is attached as Exhibit A.
                                                                          Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                   1                     401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                 Seattle, Washington 98101
                                                                                   tel+1-206-839-4300
            Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 8 of 30



1    claim is just as flawed as the first. Fundamentally, Plaintiff misstates the nature of the relevant
2    relationship between Apple and Amazon, contending that the GTA is a horizontal restraint among
3    competitors and per se unlawful. Well-established law makes it clear the per se standard does not
4    apply here because the GTA is a vertical agreement between a manufacturer and a reseller, which
5    is properly analyzed under the rule of reason. Vertical agreements like the GTA are commonplace,
6    and the Supreme Court and Ninth Circuit have routinely recognized that such agreements are
7    procompetitive and lawful. Indeed, it has been the law for more than a century that the Sherman
8    Act “does not restrict the long recognized right of trader or manufacturer engaged in an entirely
9    private business, freely to exercise his own independent discretion as to parties with whom he will
10   deal[.]” United States v. Colgate & Co., 250 U.S. 300, 307 (1919); A.H. Cox & Co. v. Star Mach.
11   Co., 653 F.2d 1302, 1306 (9th Cir. 1981) (“Competition is promoted when manufacturers are given
12   wide latitude in establishing their method of distribution and in choosing particular distributors.”).
13   Further, cases nationwide (including in the Ninth Circuit) require analyzing “dual distribution”
14   models—such as where Apple is both a manufacturer and seller of its own product—under the rule
15   of reason. Accordingly, the Court should dismiss Plaintiff’s per se claim.
16          Even under the rule of reason, Plaintiff’s claim fails for three independent reasons. First,
17   despite attempting to revise his market definition after Apple pointed out its numerous failings the
18   first time, Plaintiff’s new proposed market and submarkets remain legally deficient. He asserts that
19   the relevant market is “Online Marketplaces” like Amazon.com and eBay, which are two-sided
20   online platforms that “enable[ ] consumers to buy retail goods[.]” Am. Compl. ¶ 74. This proposed
21   market fails at the threshold because Plaintiff’s alleged “two-sided” relevant market bears no
22   relationship to his theory of harm. Further, the new Online Marketplaces proposed market is too
23   broad because the “retail goods” it encompasses include a variety of products like clothing, make-
24   up, furniture, and small appliances that are not reasonably interchangeable with smartphones and
25   tablets. Plaintiff’s proposed limitation to Online Marketplaces is also too narrow because it
26   excludes obvious alternative sources for the purchase of smartphones and tablets, such as the Apple
27   Store, Best Buy, Target, and Verizon. Plaintiff’s proposed submarkets likewise remain too narrow
28   because each excludes obvious alternative sources for the same products, such as apple.com,
                                                                 Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                            2                   401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                             Seattle, Washington 98101
                                                                               tel+1-206-839-4300
            Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 9 of 30



1    samsung.com, and verizon.com. Like many other courts have done in similar cases, this Court
2    should reject Plaintiff’s contorted relevant markets at the pleading stage.
3           Second, because Plaintiff fails to plead any plausible relevant market, he cannot plead that
4    Defendants have market power. Plaintiff’s allegations relating to market power ignore the products
5    at issue (smartphones and tablets) and, instead, allege Amazon’s market power in Online
6    Marketplaces generally. Plaintiff admits that there are many different channels for customers to
7    purchase smartphones and tablets—such as AT&T and Apple itself—but ignores these channels in
8    his market power allegations. Plaintiff’s failure to plead facts to show that Amazon or Apple have
9    market power in the alleged market and submarkets is fatal.
10          Third, Plaintiff fails to plead a plausible injury to competition. No law requires Apple to
11   sell through any third-party reseller. Apple may select an exclusive dealer for its products and,
12   indeed, could lawfully elect to sell its products only through its own retail storefronts. Despite this,
13   Plaintiff claims an illegal restraint based on a commonplace business agreement that enables
14   multiple resellers of Apple products on Amazon.com. Indeed, Plaintiff’s claim that the GTA
15   enabled only certain Authorized Apple Resellers to sell on Amazon.com is consistent with the
16   GTA’s aim of improving the customer purchasing experience and allowing Apple to compete more
17   effectively with manufacturers of competing brands. This interbrand competition is a reason why
18   courts routinely hold that vertical distribution agreements like the GTA are not anticompetitive.
19          Plaintiff’s amended allegations remain fatally deficient and, as a result, Plaintiff’s Amended
20   Complaint should be dismissed with prejudice.
21                                 STATEMENT OF PLEADED FACTS
22          A.      Apple and Amazon’s Business Relationship
23          Apple manufactures a wide variety of products, including the iPads and iPhones relevant to
24   Plaintiff’s claims. Am. Compl. ¶¶ 9, 145. Apple “distributes its products through two channels[,]”
25   otherwise known as a “dual distribution” strategy. Id. ¶ 26 & p. 9. The first channel is Apple’s own
26   online store (apple.com) and its physical retail stores (Apple Stores). Id. ¶ 26. The second channel
27   is a “network of third-party distributors and resellers” which “must enter into an Authorized
28
                                                                        Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                  3                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                               Seattle, Washington 98101
                                                                                 tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 10 of 30



1    Reseller Agreement with Apple.” Id. These resellers include service providers like AT&T, retail
2    outlets (both physical and online) like Best Buy, Target, and Staples, and other online resellers like
3    Amazon. Id. ¶¶ 1, 26. In addition to Amazon, Apple permits certain authorized resellers to sell
4    products as third-party merchants through Amazon.com. Id. ¶ 51.
5           B.      The Global Tenets Agreement
6           Long before the GTA was executed, Apple identified a widespread problem with
7    counterfeit Apple products sold on Amazon.com by third-party merchants. See id. ¶ 72. In an effort
8    to protect consumers and Apple’s brand integrity, Apple took action. In October 2016, it sued
9    Mobile Star, alleging Amazon.com sold counterfeits obtained from Mobile Star through Amazon’s
10   “internet-based e-commerce platform located at www.amazon.com.” See Complaint ¶ 1, Apple Inc.
11   v. Mobile Star LLC, No. 3:16-cv-06001-WHO, 2016 WL 6110683 (N.D. Cal. Oct. 17, 2016).3 See
12   also Apple Inc. v. Mobile Star LLC, 2017 WL 4005468, at *1 (N.D. Cal. Sept. 12, 2017) (“Apple
13   filed this case alleging Mobile Star supplied Amazon and Groupon with counterfeit Apple-branded
14   products.”). Apple ultimately added eight more defendants that had played a role in the sale of
15   counterfeit Apple products on Amazon.com to its complaint.
16          Apple’s Mobile Star complaint alleged detailed findings of Apple’s internal investigation,
17   which included test buys for products listed as “sold by Amazon.com.” The investigation
18   discovered that, despite listings claiming “genuine Apple products,” those products were indeed
19   counterfeit. See, e.g., Second Amended Complaint ¶¶ 36-37, supra note 1. While the litigation
20   named as defendants Mobile Star and other entities involved in supplying Amazon with
21   counterfeits to sell, the court noted the “central role” that Amazon “played in the underlying events”
22   dealing with counterfeit sales on its platform. Mobile Star, 2017 WL 4005486, at *4.
23          The Mobile Star litigation ultimately settled, but the removal of a few counterfeiters did not
24   solve the problem, particularly given the hundreds of other “third-party Apple resellers” that were
25

26   3
       Apple requests that the Court take judicial notice of the referenced documents from the Mobile
     Star litigation. This Court “can take judicial notice of records in other cases” Pimentel-Estrada v.
27   Barr, 458 F. Supp. 3d 1226, 1238 n.7 (W.D. Wash. 2020). This includes taking notice of
     information regarding “what was argued by the parties[.]” Eliott v. Lions Gate Ent. Corp., No.
28   2:21-cv-08206-SSS-DFMx, 2022 WL 17408662, at *3 (C.D. Cal. Nov. 8, 2022).
                                                                       Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                 4                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                              Seattle, Washington 98101
                                                                                tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 11 of 30



1    active on Amazon.com at the beginning of 2018. Am. Compl. ¶ 5. Indeed, while Plaintiff does not
2    (and cannot) attest to the authenticity of the Apple products these resellers were offering,4 he notes
3    that at least some of these third-party merchants were “offering steep discounts,” which is
4    consistent with the sale of non-genuine products. Id. Apple, as manufacturer of Apple products,
5    entered into the GTA with Amazon, a reseller, on October 31, 2018. See id. ¶ 50. Through the
6    GTA, Apple ensured brand integrity by exercising its lawful ability to decide which resellers may
7    sell its product (and under what circumstances). See id. ¶¶ 50-51; see also Ex. A, ¶ 1(a)-(b)
8

9

10                                         Apple’s enforcement of its quality standards resulted in the
11   identification of a select number of trusted Apple Authorized Resellers interested in selling on
12   Amazon.com. See id. The GTA also provided Amazon with increased access to genuine Apple
13   products. See Am. Compl. ¶ 53; see also Ex. A, ¶ 3.2.
14          C.      Plaintiff’s Amended Complaint
15          More than four years after Apple and Amazon entered into the GTA, Plaintiff brings a
16   lawsuit alleging a violation of Section 1 of the Sherman Act for an unlawful group boycott. See
17   Am. Compl. ¶¶ 158-69. He bases his theory largely on an annulled Italian agency decision that
18   does not apply the Sherman Act or any other U.S. law. See id. ¶ 26 n.17.
19          Plaintiff is an individual consumer who alleges he purchased an iPad on Amazon.com on
20   February 26, 2021. See id. ¶ 23. Plaintiff alleges that he purchased his new iPad for $319.99. See
21   id. He does not indicate how this price compared to other prices for the same iPad available from
22   other retailers like Best Buy, Staples, or directly from Apple. He alleges that he and members of a
23   nationwide class of new iPhone and iPad purchasers (id. ¶ 145) were “forced to pay more for th[eir]
24   purchases than they would have if Amazon and Apple had not entered [into] the [GTA] to eliminate
25   third-party Apple resellers from the Amazon Marketplace.” Id. ¶ 155. While he asserts that third-
26

27   4
      While the Amended Complaint pleads (¶ 27) that “Unauthorized Apple resellers are not proscribed
     or illicit[,]” Plaintiff does not, and cannot, plead that all Apple resellers on Amazon were selling
28   genuine Apple products.
                                                                       Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                 5                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                              Seattle, Washington 98101
                                                                                tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 12 of 30



1    party merchants were harmed by the GTA (e.g. id. ¶¶ 56-59), Plaintiff is not a third-party merchant.
2                                            LEGAL STANDARD
3            “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
4    accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.
5    662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In antitrust cases,
6    Plaintiff’s allegations must “‘raise a reasonable expectation that discovery will reveal evidence of’
7    an injury to competition.” Brantley v. NBC Universal, Inc., 675 F.3d 1192, 1198 (9th Cir. 2012)
8    (citation omitted). “Thus, a complaint’s allegation of a practice that may or may not injure
9    competition is insufficient to ‘state a claim to relief that is plausible on its face.’” Id. (citation
10   omitted); see also Iqbal, 556 U.S. at 678 (“Where a complaint pleads facts that are ‘merely
11   consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and plausibility
12   of entitlement to relief.’”) (citation omitted). “Applying this standard is a ‘context-specific task’
13   that requires drawing on ‘judicial experience and common sense.’” Hicks v. PGA Tour, Inc., 897
14   F.3d 1109, 1117 (9th Cir. 2018) (quoting Iqbal, 556 U.S. at 679).
15                                               ARGUMENT
16   I.      The Per Se Standard Is Inapplicable
17           The Sherman Act “outlaw[s] only unreasonable restraints.” State Oil Co. v. Khan, 522 U.S.
18   3, 10 (1997). “The rule of reason is the accepted standard for testing whether a practice restrains
19   trade in violation of § 1” of the Sherman Act. Leegin Creative Leather Prods., Inc. v. PSKS, Inc.,
20   551 U.S. 877, 885 (2007); see also PBTM LLC v. Football Nw., LLC, 511 F. Supp. 3d 1158, 1178
21   (W.D. Wash. 2021) (“The rule of reason is the presumptive, default standard[.]”). Per se antitrust
22   liability, by contrast, is reserved solely for a narrow set of claims that “relate to conduct that is
23   manifestly anticompetitive . . . [i.e.] agreements or practices which because of their pernicious
24   effect on competition and lack of any redeeming virtue are conclusively presumed to be
25   unreasonable and therefore illegal” such as “horizontal agreements among competitors to fix prices
26   or to divide markets[.]” Nova Designs, Inc. v. Scuba Retailers Ass’n, 202 F.3d 1088, 1091 (9th Cir.
27   2000) (citation omitted); see also Nw. Wholesale Stationers, Inc. v. Pac. Stationary & Printing Co.,
28
                                                                          Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                   6                     401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                 Seattle, Washington 98101
                                                                                   tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 13 of 30



1    472 U.S. 284, 289 (1985); Leegin, 551 U.S. at 886-87 (citations omitted); see also NYNEX Corp.
2    v. Discon, Inc., 525 U.S. 128, 135 (1998) (“[P]recedent limits the per se rule in the boycott context
3    to cases involving horizontal agreements among direct competitors.”) (emphasis added). By
4    contrast, courts analyze vertical agreements, like those between a manufacturer and a reseller, under
5    the rule of reason. See United States v. Am. Express Co., 838 F.3d 179, 194 n.41 (2d Cir. 2016)
6    (“[B]oth vertical price restraints and vertical non-price restraints are analyzed under the rule of
7    reason.”), aff’d sub nom. Ohio v. Am. Express Co., 138 S. Ct. 2274 (2018) (“Amex”).
8           Plaintiff tries to avoid the rule of reason analysis by invoking the per se standard and
9    asserting that the GTA is a horizontal restraint. However, “courts are not bound to accept as true a
10   legal conclusion couched as a factual allegation[.]” Twombly, 550 U.S. at 555 (citation omitted).
11   This Court should reject Plaintiff’s conclusory invocation of the per se standard because it fails to
12   match the factual allegations of the Amended Complaint and flouts binding law.
13          A.      Plaintiff’s Factual Allegations Make Clear That the Per Se Standard Is
                    Inapplicable
14
            Courts determine whether a particular restraint is horizontal or vertical by “examining the
15
     economic relationship between the parties” with respect to the particular agreement at issue. See
16
     Dimidowich v. Bell & Howell, 803 F.2d 1473, 1480 (9th Cir. 1986), as modified, 810 F.2d 1517
17
     (9th Cir. 1987). Here, Plaintiff’s factual allegations describe vertical conduct between a
18
     manufacturer and reseller, not a “horizontal agreement[] among direct competitors.” NYNEX Corp.,
19
     525 U.S. at 135. Plaintiff concedes that the GTA was a distribution agreement whereby “Apple
20
     agreed to provide Amazon consistent supplies at a discount of up to 10%[.]” Am. Compl. ¶ 7. It is
21
     undisputed that, as to the sale of iPhones and iPads on Amazon.com, Apple and Amazon have a
22
     vertical relationship where Apple is the manufacturer and Amazon is the reseller of Apple’s
23
     products on Amazon’s platform. See id. ¶¶ 1, 26. So, while Apple and Amazon may be horizontal
24
     competitors as manufacturers of their own devices (i.e. Amazon’s Fire Tablet vs. Apple’s iPad),
25
     they are vertically situated as manufacturer and reseller for Apple products sold on Amazon.com
26
     and under the agreement at issue here. See Dimidowich, 803 F.2d at 1480. Well-established law is
27
     clear that the rule of reason applies here, where the alleged restriction is a vertical one relating to
28
                                                                        Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                 7                     401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                               Seattle, Washington 98101
                                                                                 tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 14 of 30



1    the distribution of products between a manufacturer and retailer. See Bus. Elecs. Corp. v. Sharp
2    Elecs. Corp., 485 U.S. 717, 730 (1988) (Restraints “imposed by agreement between firms at
3    different levels of distribution [have been denominated] as vertical restraints.”); Calculators Haw.,
4    Inc. v. Brandt, Inc., 724 F.2d 1332, 1337 n.2 (9th Cir. 1983) (“Any ‘group boycott’ therefore
5    consisted of a vertical agreement, to which the rule of reason applies.”); Zunum Aero, Inc. v. Boeing
6    Co., No. C21-0896-JLR, 2022 WL 3346398, at *5 (W.D. Wash. Aug. 12, 2022).
7           Moreover, Plaintiff cannot plead facts to establish that the GTA lacks “any redeeming
8    virtue[.]” Nova Designs, 202 F.3d at 1091. His repeated citation to the per se standard ignores the
9    obvious business rationale for the GTA—combatting the pervasive counterfeiting problem on
10   Amazon.com and protecting Apple’s brand integrity by ensuring a premium purchasing experience
11   on Amazon.com. See Am. Compl. ¶¶ 47, 73. These legitimate, pro-competitive business
12   justifications are hallmarks of legal, vertical restraints. See, e.g., Krehl v. Baskin-Robbins Ice
13   Cream Co., 664 F.2d 1348, 1356-57 (9th Cir. 1982) (“Competition is promoted when
14   manufacturers are given wide latitude in establishing their method of distribution and in choosing
15   particular distributors.”) (citation omitted); Kingray, Inc. v. NBA, Inc., 188 F. Supp. 2d 1177, 1188
16   (S.D. Cal. 2002). Apple’s efforts to limit resellers on Amazon’s platform to trusted Authorized
17   Resellers (Ex. A., ¶ 1(a)-(b)) serves to promote interbrand competition because it ensures that
18   customers looking to buy Apple products will have access to genuine Apple products they desire,
19   thereby providing a positive customer service experience. Accordingly, “there are legitimate
20   business justifications for [Apple’s] conduct” requiring application of the rule of reason, even at
21   the pleading stage. Sambreel Holdings v. Facebook, Inc., 906 F. Supp. 2d 1070, 1078 (S.D. Cal.
22   2012) (granting motion to dismiss and holding that Facebook had legitimate business justifications
23   for “maintaining a list of approved Advertising Partners, and ensuring that such partners adhere to
24   [its] requirements”).
25          B.      Binding Law Requires Application of the Rule of Reason to a Dual Distribution
                    Model
26
            Binding precedent also forecloses Plaintiff’s per se claim because the rule of reason applies
27
     to situations where a manufacturer uses a “dual distribution” model. Plaintiff pleads that Apple
28
                                                                      Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                8                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                             Seattle, Washington 98101
                                                                               tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 15 of 30



1    uses such a model, whereby Apple manufactures Apple products and sells those products to
2    Amazon (a reseller) while concurrently selling those same products as a retailer through its own
3    channel. See, e.g., Am. Compl. ¶ 26 (“Apple distributes its products through two channels.”); p. 9
4    (“Apple’s Dual Distribution Scheme”); ¶ 42 (“Amazon has been a reseller of Apple products since
5    at least 2012.”).
6            This arrangement is vertical in nature and, under binding law in the Ninth Circuit and
7    nationwide, is subject to the rule of reason. See Dimidowich, 803 F.2d at 1481 (“We have
8    categorized restrictions imposed in the context of dual distributorships as vertical and analyzed
9    them under the rule of reason.”); Baskin-Robbins, 664 F.2d at 1357 (“[D]ual distribution systems
10   must be evaluated under the traditional rule of reason standard.”); Laurence J. Gordon, Inc. v.
11   Brandt, Inc., 554 F. Supp. 1144, 1152 (W.D. Wash. 1983) (explaining that under Ninth Circuit
12   precedent “a dual distribution system would be tested under a rule of reason”); Texas v. Google
13   LLC (In re Google Digit. Advert. Antitrust Litig.), No. 21-md-3010 (PKC), 2022 WL 4226932, at
14   *16 (S.D.N.Y. Sept. 13, 2022) (dual distribution agreement between Google and Facebook was
15   “principally a vertical agreement, with potential horizontal consequences” and should therefore be
16   scrutinized under the rule of reason). A leading treatise agrees: courts judge dual distribution
17   arrangements, like the GTA, under the rule of reason, because the restraints generally “serve
18   legitimate purposes without harming market competition.” Phillip E. Areeda & Herbert
19   Hovencamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶¶ 1605a,
20   1605c (4th and 5th eds., 2015-2021).
21           Plaintiff’s recognition of Apple’s “dual distribution” model and his challenge to the vertical
22   agreement between Apple and Amazon means the rule of reason applies. This Court should dismiss
23   Plaintiff’s claim to the extent it relies on the inapplicable per se standard.
24   II.     Plaintiff’s Alternative Rule of Reason Claim Should Be Dismissed
25           Under the rule of reason, Plaintiff must plead facts to prove (1) a contract, combination or
26   conspiracy among two or more persons or distinct business entities; (2) by which the persons or
27   entities intended to harm or restrain trade or commerce; (3) that actually injures competition; and
28
                                                                         Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                  9                     401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                Seattle, Washington 98101
                                                                                  tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 16 of 30



1    (4) antitrust injury as a result of the restraint. See Brantley, 675 F.3d at 1197. To meet this test,
2    Plaintiff must “allege both that a ‘relevant market’ exists and that the defendant has power within
3    that market.” Flaa v. Hollywood Foreign Press Ass’n, 55 F.4th 680, 693 (9th Cir. 2022) (quoting
4    Newcal Indus., Inc. v. Ikon Off. Sol., 513 F.3d 1038, 1044 (9th Cir. 2008)).
5           Plaintiff fails to meet this standard at every turn. First, the alleged relevant market and
6    submarkets are not plausible and do not track the theory of alleged harm. Second, Plaintiff’s failure
7    to establish a relevant market dooms his ability to plead market power. Third, Plaintiff does not
8    (and cannot) adequately allege that the GTA injures competition, as the alleged restraint is
9    consistent with procompetitive behavior (as courts have recognized for more than a century).
10          A.      The Alleged Relevant Market and Submarkets Are Not Plausible
11          An antitrust plaintiff must plead a plausible relevant market—including “both a geographic
12   market and a product market”—to state a claim. Hicks, 897 F.3d at 1120; see also Les Shockley
13   Racing, Inc. v. Nat’l Hot Rod Ass’n, 884 F.2d 504, 508 (9th Cir. 1989). The alleged relevant product
14   market “must encompass the product at issue as well as all economic substitutes for the product.”
15   PBTM LLC, 511 F. Supp. 3d at 1179 (quoting Newcal Indus., 513 F.3d at 1045). “Economic
16   substitutes have a ‘reasonable interchangeability of use’ or sufficient ‘cross-elasticity of demand’
17   with the relevant product.” Id. (quoting Newcal Indus., 513 F.3d at 1045). “Failure to identify a
18   relevant market is a proper ground for dismissing a Sherman Act claim.” Tanaka v. Univ. of S. Cal.,
19   252 F.3d 1059, 1063 (9th Cir. 2001). Here, Plaintiff’s alleged Online Marketplaces market and
20   submarkets are facially implausible for several reasons, requiring dismissal of his Amended
21   Complaint. See Hicks, 897 F.3d at 1121 (affirming grant of motion to dismiss where plaintiff
22   alleged contrived product market that defied common sense and was “contorted to meet their
23   litigation needs.”). And, because he has already attempted to amend his market definition, that
24   dismissal should be with prejudice. See Zunum Aero, 2022 WL 3346398, at *11 (dismissing with
25   prejudice where plaintiff’s “[a]lleged [m]arkets are facially unsustainable” and plaintiff “already
26   had an opportunity to remedy the deficiencies with respect to its [a]lleged [m]arkets”).
27

28
                                                                      Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                10                   401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                             Seattle, Washington 98101
                                                                               tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 17 of 30



1                   1.      The Two-Sided Market Framework Does Not Apply to Plaintiff’s
                            Theory of Harm
2
            First, Plaintiff’s attempt to liken the relevant market for the sale of iPhones and iPads at
3
     issue here to a “two-sided market” under Amex should be rejected because it is not tailored to the
4
     relevant products (iPads and iPhones) subject to the alleged anticompetitive agreement (the GTA).
5
     See FTC v. Qualcomm Inc., 969 F.3d 974, 992 (9th Cir. 2020) (courts analyze anticompetitive
6
     effects “in the market where competition is allegedly being restrained.”) (alteration adopted)
7
     (citation omitted). Plaintiff alleges that he and class members overpaid for new iPads and iPhones
8
     purchased on Amazon.com because of the GTA. See Am. Compl. ¶¶ 26, 145, 155. But, Plaintiff
9
     does not define the relevant market in relation to the effect of the GTA on iPads and iPhones.
10
     Instead, he claims the “relevant market” is Online Marketplaces, like Amazon.com, eBay, and
11
     Walmart Marketplace. See id. ¶ 74. This alleged “market for marketplace transactions,” and his
12
     related allegations are untethered from a market for “the product[s] at issue” (iPads and iPhones)
13
     and “all economic substitutes for the product[s]” at issue (like competing tablets and smartphones).
14
     PBTM LLC, 511 F. Supp. 3d at 1179.
15
            Plaintiff’s allegations about the features of Online Marketplaces related to transactions
16
     (Am. Compl. ¶¶ 74-109) are irrelevant, and his attempt to liken this case to the Supreme Court’s
17
     Amex decision is misplaced, 138 S. Ct. 2274 (2018) (Am. Compl. ¶¶ 15, 75). As he admits, the
18
     GTA governs the resale of Apple products on Amazon.com only, and it does not establish rules for
19
     any other online marketplace.5 Further, Plaintiff complains of allegedly increased prices for specific
20
     Apple products on Amazon.com (id. ¶ 155), not any increase in the cost of online transactions.6
21
     Nor does Plaintiff allege that the GTA has resulted in a decrease in the number of transactions (on
22
     the Amazon Marketplace, let alone all Online Marketplaces). Plaintiff, therefore, cannot claim that
23

24   5
       Plaintiff makes a conclusory assertion that “higher prices” of iPhones and iPads “gave sellers of
     other brands of smartphones and tablets greater pricing freedom” and that there is “no evidence
25   that retailers of other smartphones or tablets decreased their prices[.]” Am. Compl. ¶ 66. This
     assertion is both unsupported by pleaded facts and does not explain how the GTA would have
26   increased the cost of online transactions across all marketplaces.
     6
       Indeed, Plaintiff alleges that Amazon charges a transaction fee (Am. Compl. ¶ 32), but that is
27   unrelated to any alleged effect of the GTA. In Plaintiff’s alleged Online Marketplace market, an
     increase in price would thus be an increase in the transaction fee charged by Amazon, not the price
28   of the underlying product sold by third-party merchants or Amazon.
                                                                       Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                11                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                              Seattle, Washington 98101
                                                                                tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 18 of 30



1    the GTA reduces competition between Amazon.com and other Online Marketplaces, and thus the
2    Amex framework is inapplicable to the agreement challenged here. Moreover, nothing in Amex
3    suggests that customers like Plaintiff who buy products from “two-sided retail platforms” cannot
4    just as readily buy the same products from “one-sided” retail stores. At bottom, the two-sided nature
5    of the Amazon Marketplace and associated “indirect network effects” (id. ¶ 78) has nothing to do
6    with Plaintiff’s allegation that the GTA increased prices for iPhones and iPads, products that
7    consumers may purchase through many channels in addition to Online Marketplaces.
8           For these reasons, the Court should reject Plaintiffs’ Online Marketplaces market because
9    the alleged relevant market is facially implausible and untethered to the harm alleged in the
10   Amended Complaint. See Coronavirus Rep. v. Apple Inc., No. 21-cv-05567-EMC, 2021 WL
11   5936910, at *11 (N.D. Cal. Nov. 30, 2021) (granting motion to dismiss where antitrust claims did
12   not impact market identified in complaint); Intel Corp. v. Fortress Inv. Grp. LLC, No 21-16817,
13   2022 WL 16756365, at *3 (9th Cir. Nov. 8, 2022) (dismissing complaint where Intel alleged output
14   restriction in “markets that Fortress does not control”).
15                  2.      The Online Marketplaces Market Is Facially Overbroad
16          Plaintiff’s proposed relevant Online Marketplaces market is also implausible because it
17   purports to include all “retail goods” (Am. Compl. ¶ 74), which are neither reasonably
18   interchangeable nor have “cross-elasticity of demand” with the iPhones and iPads at issue. See,
19   e.g., id. ¶¶ 1, 3, 84, 88. Here, the Amended Complaint alleges a broad market that includes
20   smartphones and tablets, as well as all “retail goods” (id. ¶ 74), which includes a wide swath of
21   products from clothing to small appliances and make-up. Plaintiff also references products sold by
22   Dell (id. ¶ 88), like computers and webcams, which are included in his broad Online Marketplaces
23   market. Yet, Plaintiff simultaneously pleads that computers are not substitutable for smartphones
24   or tablets. See id. ¶ 80. Courts routinely hold that complaints alleging such fatally overbroad
25   markets must be dismissed. See, e.g., Reilly v. Apple Inc., 578 F. Supp. 3d 1098, 1106 (N.D. Cal.
26   2022); Universal Grading Serv. v. eBay, Inc., No. C-09-2755-RMW, 2012 WL 70644, at *7 (N.D.
27   Cal. Jan. 9, 2012) (dismissing complaint where plaintiff “provide[d] no authority supporting such
28
                                                                      Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                12                   401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                             Seattle, Washington 98101
                                                                               tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 19 of 30



1    an overbroad and amorphous market definition, which would theoretically encompass the market
2    for every one of the millions of items sold through eBay”), aff’d, 563 F. App’x 571 (9th Cir. 2014).
3           The Ninth Circuit’s rejection of the proposed market in Golden Gate Pharmacy Services,
4    Inc. v. Pfizer, Inc., 433 F. App’x 598, 599 (9th Cir. 2011), is instructive. There, the plaintiff
5    pharmacies alleged that there was a relevant product market consisting of “the pharmaceutical
6    industry” which included “pharmaceutical products.” Id. The Ninth Circuit affirmed the dismissal
7    of this “facially unsustainable” market because the pharmacies could not plead that “all
8    pharmaceutical products are interchangeable for the same purpose.” Id. The same is true here.
9    Simply put, while an individual searching for a new smartphone may consider an iPhone, along
10   with other devices made by competitors such as Samsung, Google, and LG, he or she is unlikely
11   to buy a computer monitor, make-up, clothing, or other “retail goods” as a substitute for an iPhone
12   or iPad. Plaintiff’s reliance on the overbroad Online Marketplaces market requires dismissal of his
13   rule of reason claim.
14                  3.       Plaintiff’s Relevant Market and Submarkets Are Also Fatally Narrow
                             Because They Exclude Channels to Purchase the Identical Product
15
            Dismissal is also appropriate because the Online Marketplaces market and the proposed
16
     submarkets for the sale of smartphones and tablets on Online Marketplaces (Am. Compl. ¶¶ 122-
17
     31) and sale of smartphones and tablets on online one-stop shops (id. ¶¶ 132-42) are also fatally
18
     narrow. The relevant market must include any sellers “who have actual or potential ability to
19
     deprive each other of significant levels of business.” Thurman Indus., Inc. v. Pay ‘N Pak Stores,
20
     Inc., 875 F.2d 1369, 1374 (9th Cir. 1989). Plaintiff’s contorted, litigation-driven limitation to sales
21
     via Online Marketplaces (or online one-stop shops) fails to capture many other avenues for a
22
     customer to purchase smartphones and tablets. See Joplin Enters. v. Allen, 795 F. Supp. 349, 352-
23
     53 (W.D. Wash. 1992) (Coughenour, J.) (dismissing antitrust claim where market proposed was
24
     “too narrow to support a cause of action.”) (collecting cases).
25
            The Ninth Circuit and many district courts within it have rejected market definitions that
26
     wrongly exclude other available channels to obtain the same or substitutable products. See Hicks,
27
     897 F.3d at 1121-22 (rejecting “implausible” market definition that excluded other avenues for
28
                                                                        Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                 13                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                               Seattle, Washington 98101
                                                                                 tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 20 of 30



1    advertising to reach golf fans); Pistacchio v. Apple Inc., No. 4:20-cv-07034-YGR, 2021 WL
2    949422, at *2 (N.D. Cal. Mar. 11, 2021) (dismissing claim where the complaint “offer[ed] no
3    specific allegations supporting the sole focus of the market definition on cloud gaming alternatives
4    as opposed to the broader video game market generally, including those individually sold both in
5    the Apple App Store or by competitors on computer or console platforms”).
6           Importantly, courts routinely reject narrowly drawn markets at the pleading stage. For
7    example, in Streamcast Networks, Inc. v. Skype Technologies, S.A., 547 F. Supp. 2d 1086, 1094-
8    95 (C.D. Cal. 2007), the plaintiff attempted to plead a relevant market consisting only of “FastTrack
9    P2P [peer-to-peer] file-sharing services,” and excluding all other P2P networks. The district court
10   rejected this alleged market because, while plaintiff pled that FastTrack “possess[ed] some unique
11   attributes and components that may make it more attractive and efficient, it still does not (and
12   undoubtedly cannot) plead that other P2P applications and networks do not permit users to
13   accomplish the same basic task of searching for and downloading a variety of media files from the
14   internet.” Id. at 1095 (dismissing complaint with prejudice). Likewise, in Stubhub, Inc. v. Golden
15   State Warriors, LLC, No. C 15-1436 MMC, 2015 WL 6755594, at *3 (N.D. Cal. Nov. 5, 2015),
16   the district court held that plaintiff’s proposal of separate “primary” and “secondary” ticket markets
17   was “not cognizable as a matter of law” because “both primary and secondary tickets are used for
18   the purpose of obtaining entry to a Warriors game.”
19          Plaintiff’s artificial limitation of the relevant market to Online Marketplaces and online one-
20   stop shops should similarly be rejected because both exclude alternative channels which can be
21   used for the same purpose: to obtain smartphones and tablets. There is no basis to conclude, for
22   example, that a customer interested in purchasing an iPhone would not consider many different
23   channels as reasonable substitutes. Yet, to accept Plaintiff’s market theory, this Court would have
24   to conclude that a purchaser looking to purchase an iPhone on Amazon.com would not consider
25   apple.com or verizon.com as a plausible alternative channel to buy the exact same product.
26   “‘[J]udicial experience and common sense’ require rejecting” Plaintiff’s implausible markets.
27   Hicks, 897 F.3d at 1121 (quoting Iqbal, 556 U.S. at 679); Brown Shoe Co. v. United States, 370
28   U.S. 294, 336-37 (1962) (“the definition of the relevant market” must “‘correspond to the
                                                               Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                           14                 401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                             Seattle, Washington 98101
                                                                               tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 21 of 30



1    commercial realities’ of the industry”).
2            None of Plaintiff’s allegations to the contrary affect this common-sense outcome. Plaintiff’s
3    assertions regarding the alleged asymmetric nature of competition (Am. Compl. ¶¶ 84-98, 122-26)
4    are in significant tension with his allegation of horizontal competition between Apple and Amazon
5    (id. ¶ 40). Plaintiff’s allegations regarding an asymmetry of “defections” between Online
6    Marketplaces and single-merchant outlets (id. ¶ 91) ignore that consumers are not bound to
7    purchase from any channel and thus cannot “defect” from one channel or another. With every
8    purchase, a consumer has the choice of whether to purchase an Apple product through one channel
9    or another. In fact, Plaintiff’s allegations concede the substitutability between Online Marketplaces
10   and other channels, stating that: “An iPad purchased on Apple’s website is an iPad not purchased
11   from an Amazon retailer. And vice versa.” Id. ¶ 40. The Amended Complaint also alleges that
12   Apple can drive sales of its products to its own website and retail stores and away from
13   Amazon.com and other third-party sellers. Id. ¶ 29. Yet, Plaintiff’s alleged market definitions
14   exclude purchases from these alternative channels, despite admitting that they can “deprive each
15   other of significant levels of business.” Thurman Indus., 875 F.2d at 1374; see also Pistacchio,
16   2021 WL 949422, at *2 (rejecting market definition limited to iOS where plaintiff “identifie[d] in
17   the complaint several allegedly competing subscription services”). It is thus implausible that a
18   purchaser like Plaintiff would not find apple.com or an Apple Store a reasonable substitute to
19   purchase Apple products, in addition to a wide variety of other sellers that offer competing
20   products.7
21           Plaintiff’s other attempts to support his contorted relevant markets fail because they focus
22   on “unique attributes and components that may make” Online Marketplaces more “attractive” to
23   customers, but he cannot, as a matter of law, plausibly plead that other channels to purchase
24   smartphones and tablets are not reasonably interchangeable. Streamcast, 547 F. Supp. 2d at 1095.
25   Nor can Plaintiff rely on his allegation that “a significant number of consumers will purchase
26
     7
       Moreover, it is irrelevant that other avenues like brick-and-mortar retail stores are not
27   “interchangeable” with Online Marketplaces the perspective of third-party sellers. See id. ¶¶ 87,
     102. Plaintiff’s alleged harm is the alleged increase in the price of his iPad, not his inability to sell
28   as a third-party.
                                                                         Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                  15                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                Seattle, Washington 98101
                                                                                  tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 22 of 30



1    products on marketplaces—including smartphones and tablets—even when they can be obtained
2    at lower prices from single-merchant outlets” (Am. Compl. ¶ 91). See Stubhub, 2015 WL 6755594,
3    at *3 (“price differential does not suffice to support the existence of two separate markets”). For
4    example, Plaintiff contends that the relevant market must be narrowly drawn because Amazon.com
5    offers “one-stop shopping,” (Am. Compl. ¶¶ 2, 91) and touts the benefits of these Online
6    Marketplaces because they provide online reviews, an “endless aisle,” and reduced “out-of-stock”
7    events (id. ¶¶ 93-94). But the fact that some retailers of iPhones and iPads do not also sell myriad
8    unidentified other products or have online reviews does not mean that these other retailers are
9    unreasonable substitute sources of the products at issue in this case. Likewise, while some
10   customers may prefer online stores over brick-and-mortar stores (id. ¶¶ 99, 125), this does not
11   render brick-and-mortar stores unreasonable substitutes to buy smartphones and tablets.
12          Plaintiff’s second alternative submarket for sales of smartphones and tablets on online one-
13   stop shops fails for these same reasons. While expanding the market definition to include
14   “traditional retailers with online stores” like Best Buy and Staples (id. ¶ 133), this proposed market
15   still nonsensically excludes the brick-and-mortar counterpart to the online stores, as well as
16   alternative channels (both brick-and-mortar and online) like Verizon, Samsung, and other regional
17   resellers. Plaintiff’s justifications for these exclusions, like reduced product choice or bundling with
18   cellular service (id. ¶¶ 135-38), again focus on unique or attractive attributes of online one-stop
19   shops, but do not render these other retailers unreasonable substitutes for someone interested in
20   buying a smartphone or tablet. See Streamcast, 547 F. Supp. 2d at 1095; Hicks, 897 F.3d at 1122
21   (rejecting assertion that “increased effectiveness” could place advertising format “in a distinct
22   market”).
23          At bottom, while Online Marketplaces like Amazon.com and online one-stop shops are
24   some possible ways to purchase a smartphone or tablet, there are many alternative channels through
25   which a consumer can obtain a smartphone or tablet. Plaintiff’s failure to include these alternative
26   channels in his relevant market defies common sense and is fatal to his contention that the relevant
27   product market here is only sales made through an online marketplace or online one-stop shops.
28   See, e.g., Hicks, 897 F.3d at 1121-22; hiQ Labs, Inc. v. LinkedIn Corp., 485 F. Supp. 1137, 1149
                                                                     Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                              16                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                              Seattle, Washington 98101
                                                                                tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 23 of 30



1    (N.D. Cal. 2020) (dismissing complaint where plaintiff had “not yet shown that it is plausible that
2    the relevant market should be defined as that which uses only [defendant’s] data” where alternative
3    public channels exist to obtain similar data) (emphasis omitted).
4                                                     ***
5            For all these reasons, Plaintiff does not (and cannot) plead a plausible product market that
6    fits the alleged anticompetitive conduct in this case. Plaintiff’s failure to allege any plausible market
7    requires dismissal.
8            B.      Plaintiff Does Not Plausibly Allege Market Power
9            Plaintiff’s failure to plead any plausible relevant product market also dooms his ability to
10   plead market power in the proper market. See Flaa, 55 F.4th at 694-95 (“[L]ack of market power
11   is fatal to [ ] claims under the rule of reason.”); Pennsylvania Ave. Funds v. Borey, 569 F. Supp. 2d
12   1126, 1134-35 (W.D. Wash. 2008). While the Amended Complaint distracts on this point by citing
13   Amazon’s large online presence generally (e.g. Am. Compl. ¶ 111), and Apple’s alleged share of
14   “50% of the respective smartphone and tablet markets (inclusive of all distribution channels)” (id.
15   ¶ 66),8 these citations say nothing about Amazon’s market power for the sales of smartphones and
16   tablets relevant to Plaintiff’s claim. The relevant market power is not, as Plaintiff contends, in the
17   “market” for Online Marketplaces of all “retail goods,” “consumer electronics,” or avenues for
18   third parties to sell, but rather in the market for the sale of specified Apple products and reasonable
19   substitutes.
20           Plaintiff’s allegations concerning market power in a smartphone and tablet submarket are
21   insufficient and self-defeating. He attempts to “infer[]” Amazon’s market power in the
22   “smartphones and tablet sales,” based on discussion of Amazon’s market share in online consumer
23   electronic sales generally. Id. ¶ 128. Yet, this inference is unsupported by allegations as to what
24   proportion of online sales are tablet and smartphone sales. Further, the allegation is irrelevant
25   because it excludes other sellers of tablets and smartphones that fall outside Plaintiff’s contorted
26
     8
27    Notably, this figure admittedly includes sales in “all” distribution channels, not simply Plaintiff’s
     artificial online marketplace and online one-stop shops markets. As such, it provides little support
28   for market power in the alleged market.
                                                                        Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                17                     401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                               Seattle, Washington 98101
                                                                                 tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 24 of 30



1    Online Marketplaces and online one-stop shops markets. Plaintiff’s other allegations are likewise
2    fatal to his assertion that Amazon has market power in the sale of smartphones and tablets. For
3    example, the Amended Complaint pleads that Apple’s “[d]irect sales” are “an important part of
4    Apple’s business[.]” Id. ¶ 1. And Apple is not the only other alternative to purchase smartphones
5    and tablets. Indeed, the Amended Complaint acknowledges other options like AT&T exist, but
6    excludes them from the market power discussion because Plaintiff’s alleged markets fail to match
7    his alleged harm.
8           Plaintiff’s hypothetical monopolist (or “SSNIP”) tests—which Plaintiff relies on to show
9    that Amazon has market power—clearly demonstrate the mismatch between Plaintiff’s market
10   power allegations and his alleged harm. Plaintiff claims market power based on Amazon’s ability
11   to increase the commission it charges third-party merchants. See id. ¶ 106. Plaintiff, however, does
12   not claim injury based on increased commissions. Similarly, Plaintiff’s other market power
13   allegations relate to sales on Amazon Marketplace in general, not Amazon’s market power with
14   respect to the resale of smartphones or tablets in the proposed relevant market. See id. ¶ 108
15   (referring to price changes on the marketplace in general); ¶ 141 (referring to Amazon’s alleged
16   market power “within the broader category of all consumer electronics sales online”). Nor does his
17   misaligned SSNIP test account for the common-sense reality that a prospective purchaser unhappy
18   with the price of an iPhone or iPad on Amazon has a multitude of other avenues to buy one.
19   Customers are not locked into purchasing on Amazon.com.
20          Plaintiff’s failure to address market power for the products relevant to his claim requires
21   dismissal. See Flaa, 55 F.4th at 693.
22          C.      Plaintiff Does Not Adequately Allege Injury to Competition
23          Plaintiff also bears the burden to plead facts that plausibly establish that the GTA injured
24   competition and had no legitimate justification. Allegations that are “merely consistent” with
25   liability “stop[ ] short of the line between possibility and plausibility[.]” Iqbal, 556 U.S. at 678.
26   Courts routinely recognize the benefits of distributor agreements in promoting interbrand
27   competition by improving a manufacturer’s brand integrity. Plaintiff cannot make up for this failure
28
                                                                      Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                18                   401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                             Seattle, Washington 98101
                                                                               tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 25 of 30



1    by relying on alleged increased prices and the reduction of third-party sellers alone. And, critically,
2    his allegations do not support a decrease in genuine Apple products sold, or output, on Amazon,
3    let alone overall. Plaintiff’s myopic, unrealistic focus on resales through Amazon.com—a platform
4    on which Apple adopted procompetitive measures to combat unsafe counterfeits and knockoffs—
5    cannot cover up his failure to show that the GTA had market-wide effects.
6           First, Plaintiff’s Amended Complaint rests on a challenge to Apple’s business decision to
7    enter into a distribution agreement (the GTA) with a reseller (Amazon) and set certain requirements
8    for the sale of its products on Amazon.com. But such distribution agreements are consistent with
9    procompetitive conduct, and Plaintiff’s allegations about the effects of the GTA are insufficient to
10   cross the “line between possibility and plausibility” of an anticompetitive effect. Iqbal, 556 U.S. at
11   678. The GTA set requirements on the sale of Apple products on its reseller’s platform,
12   Amazon.com, to address the counterfeit problem that the Amended Complaint acknowledges
13   Apple had identified (Am. Compl. ¶ 72) and improved the customer experience for purchasers of
14   Apple products. See pp. 4-5, supra. Such action by a manufacturer “while [a] restraint[] in one
15   sense, nevertheless serve[s] to promote interbrand competition.” A.H. Cox, 653 F.2d at 1306; see
16   also Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 735 (9th Cir. 1987) (“No antitrust
17   violation occurs unless the exclusive agreement is intended to or actually does harm competition
18   in the relevant market. That one distributor will be hurt when another succeeds in taking its line
19   will be axiomatic in some markets . . . .”); Cont’l T. V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 54-
20   55 (1977) (“Economists have identified a number of ways in which manufacturers can use such
21   restrictions to compete more effectively against other manufacturers.”). At bottom, “[b]usinesses
22   may choose the manner in which they do business absent an injury to competition.” Brantley, 675
23   F.3d at 1202.9 Plaintiff’s reliance on the GTA’s existence does not meet his burden to prove any
24   such injury.
25          Second, Plaintiff attempts to make up for his failure to plead anticompetitive effects by
26
     9
27     For similar reasons, the Amended Complaint’s allegations regarding an alleged “strategy of
     scarcity” and allegation that “Apple’s own profit margins are higher when it directly sells to
28   consumers” (e.g. id. ¶¶ 26, 28-29) are simply recognition of Apple’s legitimate business operations.
                                                                        Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                 19                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                               Seattle, Washington 98101
                                                                                 tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 26 of 30



1    claiming that the GTA increased prices for iPhones and iPads on Amazon.com, and reduced the
2    number of third-party sellers on Amazon’s platform.10 Yet, Ninth Circuit law is clear that these
3    allegations, standing alone, are not sufficient to plead an injury to competition because “[b]oth
4    effects are fully consistent with a free, competitive market.” Brantley, 675 F.3d at 1202
5    (“[A]llegations that an agreement has the effect of reducing consumers’ choices or increasing prices
6    to consumers does not sufficiently allege an injury to competition.”); see also Conklin v. Univ. of
7    Wash. Med., 798 F. App’x 180, 181 (9th Cir. 2020) (quoting Brantley, 675 F.3d at 1202). In fact,
8    the Ninth Circuit has routinely explained that an alleged reduction in third-party resellers does not
9    adequately establish injury to competition because it is simply the “axiomatic” result of a lawful
10   vertical agreement between a manufacturer and reseller. Rutman, 829 F.2d at 735; see also A.H.
11   Cox, 653 F.2d at 1306-07 (explaining such provisions promote interbrand competition). And
12   monetary “injury” to the third-party resellers unable to sell on Amazon.com is not an “injury to the
13   market or competition” actionable under the antitrust laws.11 See Heisen v. Pac. Coast Bldg. Prods.,
14   Inc., 26 F.3d 130, 130 (9th Cir. 1994).
15          Further, Plaintiff’s alleged price statistics (e.g. Am. Compl. ¶¶ 54, 62-64) are a red herring.
16   Plaintiff’s allegations of increased prices are equally consistent with an increase in price that would
17   naturally occur with an increase in genuine product sales, the improvement of customer purchasing
18   experiences, and the elimination of cheaper, counterfeit products sold as real Apple products.
19   Accordingly, they fail to plausibly plead that the GTA is anticompetitive. See Iqbal, 556 U.S. at
20   678. Likewise, the termination of third-party resellers is not an anticompetitive effect because
21   manufacturers are permitted to select the dealers that sell their products and “even cut off” others.
22   A.H. Cox, 653 F.2d at 1306.
23          Third, Plaintiff does not support his boilerplate, conclusory claim of output reduction (Am.
24
     10
25     E.g. Am. Compl. ¶¶ 9, 12, 61-63, 66, 68-71, 155-56, 163-64, 167.
     11
        For this reason, Plaintiff’s arguments regarding antitrust injury are also insufficient. Plaintiff
26   cannot rely on injury to third-party resellers to fill this gap, because “[p]arties whose injuries,
     though flowing from that which makes the defendant's conduct unlawful, are experienced in
27   another market do not suffer antitrust injury.” Qualcomm, 969 F.3d at 992 (citation omitted). For
     these reasons, and those explained by Amazon (which Apple incorporates herein), Plaintiff has not
28   pled antitrust injury. See Amazon.com’s Motion to Dismiss the Amended Complaint, Section III.
                                                                        Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                                 20                    401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                               Seattle, Washington 98101
                                                                                 tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 27 of 30



1    Compl. ¶ 68) with any factual allegations. See Reilly, 578 F. Supp. 3d at 1110 (rejecting “threadbare
2    recital[ ]” of lowered output). This is a critical failing, as “[t]he core question in antitrust is output.
3    Unless a contract reduces output in some market, to the detriment of consumers, there is no antitrust
4    problem. A high price is not itself a violation of the Sherman Act.” Chi. Pro. Sports Ltd. P’ship v.
5    NBA, 95 F.3d 593, 597 (7th Cir. 1996). Here, Plaintiff does not actually allege that the total number
6    of genuine Apple products sold in any distribution channel decreased. Instead, Plaintiff points to a
7    reduction of third-party merchants, and posits an unexplained “counterfactual” contending that the
8    reduction of third-party merchants created an output reduction. E.g. Am. Compl. ¶¶ 62, 68. Yet,
9    the Amended Complaint’s factual allegations say nothing about whether several Authorized
10   Resellers or Amazon made up for any alleged decrease in sales resulting from fewer third-party
11   resellers even though the Amended Complaint recognizes that the GTA provided Amazon “steady
12   access to Apple products” (id. ¶¶ 53, 165) that increased Amazon’s offerings of genuine Apple
13   products, which was previously “virtually non-existent” (id. ¶¶ 6-7). Further, Plaintiff fails to
14   differentiate between counterfeit and genuine Apple product sales anywhere in the Amended
15   Complaint, leading to the equally possible scenario that the reduction of third-party merchants
16   reduced the number of fake products on the market but increased supply of genuine products
17   offered on Amazon. For this reason, Plaintiff’s reliance on an alleged lack of discounting (id. ¶ 68)
18   likewise does not make up for his failure to plead facts supporting a reduction on output of genuine
19   Apple products.
20           On an even more basic level, Plaintiff fails to grapple with the fact that the output of Apple
21   products is not limited to those resold on Amazon.com. Indeed, while Plaintiff’s alternative online
22   one-stop shops market includes online sales on Best Buy and Staples (id. ¶ 133), he fails to plead
23   that output was restricted in those channels, much less in the alleged market overall. For these
24   reasons, Plaintiff’s conclusory assertion of output restriction, or reliance on the exclusion of third-
25   party merchants selling an unknown number of products (let alone genuine products), is not
26   sufficient to establish an output restriction. See Intel, 2022 WL 16756365, at *2-3 (affirming
27   dismissal of complaint where allegations were consistent with alternative explanation); Somers v.
28   Apple, Inc., 729 F.3d 953, 965 (9th Cir. 2013) (similar).
                                                                          Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                               21                        401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                                 Seattle, Washington 98101
                                                                                   tel+1-206-839-4300
           Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 28 of 30



1                                            CONCLUSION
2             For these reasons, Defendant Apple Inc. asks the Court to dismiss the Amended Complaint
3    with prejudice. See Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003).
4
              I certify that this memorandum contains 8,164 words, in compliance with the Local Civil
5
     Rules.
6
     DATED this 27th day of March, 2023.
7

8                                              ORRICK, HERRINGTON & SUTCLIFFE LLP
9
                                               By: s/Mark S. Parris
10                                                 Mark S. Parris (WSBA No. 18370)
                                                   mparris@orrick.com
11
                                                   401 Union Street, Suite 3300
12                                                 Seattle, WA 98101
                                                   Telephone: +1 206 839 4300
13                                                 Facsimile: +1 206 839 4301

14                                             WEIL GOTSHAL & MANGES, LLP

15                                             By: s/Carrie C. Mahan
                                                   Carrie C. Mahan (Pro Hac Vice)
16                                                 carrie.mahan@weil.com

17                                             By: s/Sandra Nicole Booth
                                                   Sandra Nicole Booth (Pro Hac Vice)
18                                                 nicole.booth@weil.com

19                                                 2001 M. Street NW, Suite 600
                                                   Washington, DC 20036
20                                                 Telephone: +1 202 682 7000

21
                                               By: s/Brian G. Liegel
22                                                 Brian G. Liegel (Pro Hac Vice)
                                                   brian.liegel@weil.com
23
                                                   1395 Brickell Avenue, Suite 1200
24                                                 Miami, FL 33131
                                                   Telephone: +1 305 577 3180
25
                                            Attorneys for Defendant Apple Inc
26

27

28
                                                                    Orrick Herrington & Sutcliffe LLP
     MOTION TO DISMISS                              22                   401 Union Street, Suite 3300
     Case No. 2:22-cv-01599 JCC                                           Seattle, Washington 98101
                                                                             tel+1-206-839-4300
Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 29 of 30




            EXHIBIT A
 Case 2:22-cv-01599-JCC Document 43 Filed 03/27/23 Page 30 of 30




FILED UNDER SEAL
